Case 23-60775-TJ23      Doc 22    Filed 11/30/23 Entered 11/30/23 11:19:10          Desc Main
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                 IN THE UNITED STATES BANKRUPCTY COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION
                                                                       Filed in U.S.
                                                                                     Bankruptcy Court
                                                                        Northern District of
                                                                                             Georgia
                                                                            Vania Aller),
                                                                                            Clerk
  IN RE:                                                                                k, Ti
                                                                             NOV 3,0 2023
  TAWANNA SAVAGE,
                                                                                    ty Cr-7
        Debtor

                                           DOCE KT NO: 23-60775-T323
  TAWANNA SAVAGE,

        Debtor /Pro Se



               MOTION FOR RECONSIDERATION OF DISMISSAL

  Debtor, Tawanna Savage/Pro Se respectfully request that this Court reconsider the
  Dismissal of this case and in support states as follows:

  1.    Debtor(s) filed her schedules on November 15, 2023.

  9.    It has come to the attention of Debtor that all schedules were not receive.

        Debtor has resent the schedules identified by the Clerk as not received as
        remedy on November 307 2023.

  WHEREFORE, the Debtor request this Court grant Motion For Reconsideration

  This 30th day of November, 2023.




                                                Tawanna Sava      PRO E
                                                Attorney for the Debtor


  2254 Old Salem Road, S.E.
  Conyers, Georgia 30013
  Phone: (678) 629-1974
  Email: t awa rin asava ge,Rva.hoo.corn
Case 23-60775-TJ23     Doc 22     Filed 11/30/23 Entered 11/30/23 11:19:10    Desc Main
                                 Document      Page 2 of 2




                  IN THE UNITED STATES BANKRUPCTY COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION



  IN RE:

  TAWANNA SAVAGE,

        Debtor.

                                         DOCKET NO: 23-60775-TJ23
  TAWANNA SAVAGE,

        Debtor / Pro Se,




                               CERniiICATE OF SERVICE

  I do hereby certify that I have this day served all parties of record in the instant
  matter with a copy of the enclosed Motion For Reconsiderationvia Regular Mail
  to the Trustee below and to all listed on the Matrix attached.

                              Ms. Melissa J. Davey
                              Standing Chapter 13 Trustee
                              233 Peachtree Street, N.E.
                              Suite 2255
                              Atlanta, Georgia 30303

  Respectfully this 30th, day of November 2023_



                                                             Tawanna Savage, PRO E
                                                            Attorney for the Debtor
  2254 Old Salem Road, S.E.
  Conyers, Georgia 30013
  Phone: (678) 629-1974
  Email: tawanna.savagelz)vahoo.corn


  X..c: See Matrix Attached
